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 In the United States Court of Federal Claims
                                         No. 17-183 C
                                     Filed: August 8, 2017


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SIGMATECH, INC.,                       *
                                       *
      Plaintiff,                       *
                                       *
v.                                     *
                                       *
THE UNITED STATES,                     *
                                       *
      Defendant.                       *
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ORDER GRANTING MOTION TO AMEND THE ADMINISTRATIVE RECORD AND
         DENYING MOTION FOR A PRELIMINARY INJUNCITON

       On August 2, 2017, Plaintiff filed a Motion to Supplement The Record And To Allow
Supplemental Briefing Relating to Defendant’s Post-Briefing Actions, requesting that the court
include Amendment 3 to Solicitation No. W91CRB-16-R-0039 in the Administrative Record.
ECF No. 39. On August 7, 2017, Plaintiff filed a Motion For A Preliminary Injunction And
Incorporated Memorandum Of Law. ECF No. 40. On August 8, 2017, the court convened a Status
Conference to consider these motions.

      Pursuant to that Status Conference, the court grants Plaintiff’s Motion to Supplement the
Administrative Record, because the court has determined that Amendment 3 to Solicitation No.
W91CRB-16-R-0039 is part of the Administrative Record. In addition, the court denies Plaintiff’s
Motion For A Preliminary Injunction.

       IT IS SO ORDERED.


                                                             s/Susan G. Braden
                                                             SUSAN G. BRADEN
                                                             Chief Judge
